Case 8:03-cv-00989-DOC-AN Document 110 Filed 02/28/05 Pagelof7 Page ID #:125

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Counsel for Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

SOUTHERN

VALUEPOINT PARTNERS, INC., on
behalf of itself and all others similarly
situated,

Plaintiff,
v.

ICN PHARMACEUTICALS, INC.,
MILAN PANIC, RICHARD A.
MEIER, JOHN E. GIORDANI,
NORMAN BARKER, JR., BIRCH E.
BAYH, EDWARD A. BURKHARDT,
ALAN F. CHARLES, RONALD R.
FOGLEMAN, ROGER GUILLEMIN,
M.D., Ph.D., ADAM JERNEY,
JEAN-FRANCOIS KURTZ, STEVEN
J. LEE, STEPHEN D. MOSES,
ROSEMARY TOMICH and

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CENTRAL DISTRICT OF CALIFORNIA

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DIVISION __. IS-2/N5-S

Case No. SACV 03-989 DOC (ANx)

CLASS ACTION

PROPOSED} FINAL JUDGMENT
AND ORDER OF DISMISSAL
WITH PREJUDICE

Date: February 28, 2005

“===e/-Timé: 8:30 a.m.
aes Defendants —___--| |-Gourtroom: Hon. David OQ. Carter

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3-cv-00989-DOC-AN Document 110 Filed 02/28/05 Page 2o0f7 Page ID #:126

This matter came before the Court for hearing pursuant to an Order of this
Court, dated December 20, 2004, on the application of the Settling Parties for
approval of the settlement set forth in the Stipulation of Settlement dated as of
December 13, 2004 (the “Stipulation”), Due and adequate notice having been given
of the settlement as required in said Order, and the Court having considered all papers
filed and proceedings held herein and otherwise being fully informed in the premises
and good cause appearing therefore, IT IS HEREBY ORDERED, ADJUDGED AND
DECREED that:

1. This Judgment incorporates by reference the definitions in the
Stipulation, and all terms used herein shall have the same meanings as set forth in the
Stipulation.

2. The Court has jurisdiction over the subject matter of the Litigation and
over all parties to the Litigation, including all Members of the Class.

3. Except as to any individual claim of those persons (identified in Exhibit
1 attached hereto) who have validly and timely requested exclusion from the Class,
the Litigation and all claims contained therein, including all of the Released Claims,
are dismissed with prejudice as to the Representative Plaintiff and the other Members
of the Class, and as against each and all of the Released Persons. The parties are to
bear their own costs, except ass otherwise provided in the Stipulation.

4,Pursuant to Rule 23 of the Federal Rules of Civil Procedure, this Court
hereby approves the settlement set forth in the Stipulation and finds that said
settlement is, in all respects, fair, reasonable and adequate to, and is in the best
interests of, the Lead Plaintiffs, the Class and each of the Class Members. This Court
further finds The settlement set forth in the Stipulation is the result of arm’s-length
negotiations between experienced counsel representing the interests of the Lead
Plaintiffs, the Class Members and the Defendants. Accordingly, the settlement
embodied in the Stipulation is hereby approved in all respects and shall be

consummated in accordance with its terms and provisions. The Settling Parties are

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cv-00989-DOC-AN Document 110 Filed 02/28/05 Page 3o0f 7 Page ID #:127

hereby directed to perform the terms of the Stipulation.

5. Upon the Effective Date, the Representative Plaintiffs and each of the
Class Members shall be deemed to have, and by operation of the Judgement shall
have, fully, finally, and forever released, relinquished and discharged all Released
Claims against the Released Persons, whether or not such Class Member executes and
delivers a Proof of Claim and Release form.

6. All Class Members are hereby forever barred and enjoined from
prosecuting the Released Claims against the Released Persons.

7. Upon the Effective Date hereof, each of the Released Persons shall be
deemed to have, and by operation of this Judgment shall have, fully finally, and
forever released, relinquished, and discharged each and all of the Class Members and
Plaintiffs’ Settlement Counsel from all claims (including unknown claims), arising
out of, relating to, or in connection with the institution, prosecution, assertion,
settlement or resolution of the Litigation or the Released Claims.

8. The distribution of the Notice of Pendency and Proposed Settlement of
Class Action and the publication of the Summary Notice as provided for in the
Revised Order Preliminarily Approving Settlement and Providing for Notice
constituted the best notice practicable in the circumstances, including individual
notice to all members of the class who could be identified through reasonable effort.
Said notice provided the best notice practicable in the circumstances of those
proceedings and of the matters set forth therein, including the proposed settlement set
forth in the Stipulation, to all Persons entitled to such notice, and said notice fully
satisfied the requirements of Federal Rule of Civil Procedure 23, the requirements of
due process, and other applicable law. The Court further finds and concludes that the
notice adequately advised Class Members of the Plan of Allocation and their right to
object thereto, and a full and fair opportunity was accorded to all Persons and entities
who are Class Members to be heard with respect to the Plan of Allocation.

9. The Court hereby finds and concludes that the formula for the

Case 8:03-cv-00989-DOC-AN Document 110 Filed 02/28/05 Page 4of7 Page ID #:128

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calculation of the claims of Authorized Claimants which is set forth in the
Memorandum of Points and Authorities in Support of Motion for Final Approval of
Settlement and Plan of Allocation of Settlement Proceeds and in the Notice of
Pendency and Proposed Settlement of Class Action sent to Class Members provides
a fair and reasonable basis upon which to allocate the proceeds of the Settlement
Fund established by the Stipulation among Class Members, with due consideration
having been given to administrative convenience and necessity. This Court hereby
finds and concludes that the Plan of Allocation set forth in the notice is, in all
respects, fair, reasonable and adequate and the Court hereby approves the Plan of
Allocation.

9. The Plan of Allocation submitted by Plaintiffs’ Settlement Counsel or
any order entered regarding the attorneys’ fee and expense application shall in no way
disturb or affect this Final Judgment and shall be considered separate from this Final
Judgment.

10. Neither the Stipulation nor the settlement contained therein, nor any act
performed or document executed pursuant to or in furtherance of the Stipulation or
the settlement: (a) is or may be deemed to be or may be used as an admission of, or
evidence of, the validity of any Released Ciaim, or of any wrongdoing or liability of
the Defendants or their Related Parties; or (b) is or may be deemed to be or may be
used as an admission of, or evidence of, any fault or omission of any of the
Defendants or their Related Parties in any civil, criminal or administrative proceeding
in any court, administrative agency or other tribunal. Defendants and/or their Related
Parties may file the Stipulation and/or the Judgment in any other action that may be
brought against them in order to support a defense or counterclaim based on
principles of res judicata, collateral estoppel, release, good faith settlement, judgment
bar or reduction or ant other theory of claim preclusion or issue preclusion or similar
defense or counterclaim.

11. Without affecting the finality of this Judgment in any way, this Court

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cv-00989-DOC-AN_ Document 110 Filed 02/28/05 Page 5of7 Page ID #:129

hereby retains continuing jurisdiction over (a) implementation of this settlement and
any award or distribution of the Settlement Fund, including earned interest earned
thereon; (b) disposition of the Settlement Fund; (c) hearing and determining
applications for attorneys’ fees and expenses in the Litigation; and (d) all parties
hereto for the purpose of construing, enforcing and administering the Stipulation. -

12, The Court finds that during the course of the Litigation, the Settling
Parties and their respective counsel at all times complied with the requirements of
Federal Rule of Civil Procedure 11.

13. Inthe event that the settlement does not become effective in accordance
with the terms of the Stipulation or the Effective Date does not occur, or in the event
that the Settlement Fund, or any portion thereof, is returned to the Defendants, then
this judgment shall be rendered null and void to the extent provided by and in
accordance with the Stipulation and shall be vacated and, in such event, all orders
entered and releases delivered in connection herewith shall be null and void to the
extent provided by and in accordance with the Stipulation.

IT [IS SO ORDERED.

DATED:

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THE HONORABLE DAVID O. CARTER
UNITED STATES DISTRICT JUDGE

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3-cv-00989-DOC-AN Document 110 Filed 02/28/05 Page 6of7 Page ID #:130

EXHIBIT 1

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